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                 IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION,

Plaintiff,                                 Case No. 1:12-CV-01049-JTN
                                           Hon. Janet T. Neff

v.

MUSKEGON RIVER YOUTH HOME, INC.

Defendant.

___________________________________/
LAURIE A. YOUNG                            GARY SALLEE
KENNETH BIRD                               Counsel for Defendant
NEDRA D. CAMPBELL (P58768)                 11650 Olio Road, Ste. 1000
EQUAL EMPLOYMENT OPPORTUNITY               Fishers, Indiana 46037
COMMISSION                                 (317) 416-9543 / 863-1050 (fax)
Counsel for Plaintiff                      gdsallee@gmail.com
477 Michigan Ave., Room 865
Detroit, Michigan 48226
(313) 226-3410/6584 (fax)
Nedra.Campbell@eeoc.gov
                                           KIFFI Y. FORD (P54852)
                                           Dykema Gossett PLLC
                                           Counsel for Defendant
                                           201 Townsend St Ste 900
                                           Lansing, MI 48933
                                           Phone: (517) 374-9177 / 9191 (fax)
                                           kford@dykema.com

___________________________________/

                              CONSENT DECREE

       The Equal Employment Opportunity Commission (the “EEOC” or the

“Commission”) instituted this action against the Defendant, Muskegon River

Youth Home, Inc. (the “Defendant”), pursuant to Title VII of the Civil Rights Act
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of 1964 (“Title VII”) and Title I of the Civil Rights Act. The Commission and

Defendant agree that this action should be resolved by entry of this Consent

Decree.

       This Consent Decree shall be a final and binding settlement in full

disposition of all claims raised in the complaint filed by the Commission in

Case No. 1:12-CV-01049. It is therefore the finding of this Court, made on the

pleadings and record as a whole, that: 1) the Court has jurisdiction over the

parties and subject of this action; 2) the purpose of Title VII as amended by the

Pregnancy Discrimination Act of 1978 will be promoted and effectuated by

entry of this Consent Decree; and 3) this Consent Decree resolves all matters in

controversy between the parties as provided below. It is hereby ORDERED,

ADJUDGED AND DECREED:

                                  INJUNCTION

1.     Defendant and its officers, agents, successors, and assigns are enjoined

from maintaining its Policy on Pregnancy dated August 16, 2006.

2.     Defendant and its officers, agents, successors, and assigns are enjoined

from requiring that employees inform the company when an employee knows

she is pregnant.

3.     Defendant and its officers, agents, successors, and assigns are enjoined

from disciplining or terminating an employee who does not notify the company

that she is pregnant.

4.     Defendant and its officers, agents, successors, and assigns are enjoined

from requiring employees who were pregnant to wait 30 days after pregnancy
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before being allowed to return to work.

5.      Defendant and its officers, agents, successors, and assigns are enjoined

from requiring pregnant employees to provide it with a statement from a care

provider or medical professional regarding the employee’s continued ability to

work.

6.      Defendant and its officers, agents, successors, and assigns are enjoined

from: (a) discriminating against any employee on the basis of pregnancy; and

(b) retaliating against any employee because s/he: (i) opposes discriminatory

practices made unlawful by Title VII; (ii) files a charge of discrimination or

assists or participates in the filing of such a charge; or (iii) assists or

participates in an investigation or proceeding brought under the Federal laws

prohibiting discrimination or retaliation.

                                     TRAINING

7.      Within thirty (30) days after the Consent Decree has been entered by the

Court, Defendant shall provide a mandatory training program to its supervisors

and all employees who play a role in determining the terms and conditions of

an employee’s status, including human resources employees. The training will

focus on the requirements of Title VII and the Pregnancy Discrimination Act of

1978. This training shall be provided on a yearly basis for the duration of this

Consent Decree. The training will ensure that those trained understand that

pregnant employees should be treated the same as non-pregnant employees.

8.      Within 30 days after each mandatory training program, Defendant will

provide the Commission with a list of all attendees and certify that all
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supervisors and all employees who play a role in determining the terms and

conditions of an employee’s status, including human resources employees,

have been trained. This information should be provided to Laurie A. Young or

her successor, Regional Attorney, c/o Nedra Campbell, Trial Attorney, EEOC,

477 Michigan Avenue, Room 865, Detroit, Michigan 48226.

                                         NOTICES

9.      Within thirty (30) days after the Consent Decree has been entered by the

Court, Defendant shall provide written notification to all female employees that

its Policy on Pregnancy has been rescinded by sending a letter to each female

employee. A copy of each of these letters shall be provided to Laurie A. Young

or her successor, Regional Attorney, c/o Nedra Campbell, Trial Attorney,

EEOC, 477 Michigan Avenue, Room 865, Detroit, Michigan 48226.

10.     Defendant shall post the Notice attached as Attachment A on the

company’s website and in a conspicuous place where employees’ notices are

posted. This Notice shall be posted throughout the term of this Consent

Decree. Should the Notice become defaced, marred or otherwise made

unreadable, Defendant will post a readable copy of the Notice in the same

manner as soon as practicable.

11.     Defendant shall notify the Commission should it adopt or change any

policies affecting its employees during the duration of this Consent Decree and

shall provide the Commission with a copy of both these policies at the above

address at least thirty (30) days before the policy is formally adopted.

                        REPORTING AND COMPLIANCE
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12.     Defendant shall provide, within thirty (30) days following yearly

mandatory training specified in paragraph 7 above, the list of attendees in

accordance with paragraph 8.

13.     Defendant shall provide written verification within thirty (30) days of

entry of the Consent Decree that it has posted the notice attached as

Attachment A as required in paragraph 10 above.

14.     Defendant shall submit in affidavit form to the Commission’s Regional

Attorney at the address provided above a report including the name, address,

position, social security number, and telephone number of every employee who

has complained about sex discrimination, including pregnancy discrimination,

sexual harassment, or retaliation during the first six (6) months from the date

this Decree is entered by the Court. The nature of the complaint, Defendant’s

investigatory efforts, and corrective action taken, if any, shall also be specified.

If no such complaints have been made, Defendant shall submit the required

report and indicate that it did not receive any complaints during that time

period. Additional reports shall be submitted every six (6) months for the

duration of this Decree.

15.     Within thirty (30) days of the date of this Consent Decree, Defendant

shall submit in affidavit form to the Commission’s Regional Attorney at the

address provided above a report including the name, address, position, social

security number, and telephone number of every female employee who has

worked for Defendant at any time during the previous twelve-month period.

Defendant shall submit a new list on an annual basis. It is expressly
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understood that the Commission, in its discretion, may contact these

individuals to monitor compliance with this Decree.

16.     The Commission shall have the right during regular business hours

defined as Monday through Friday, 9:00 am to 5:00 pm, EST, to enter and

inspect Defendant’s premises and personnel records, to ensure compliance

with this Decree.

17.     Defendant will provide the Commission with a copy of Defendant’s

personnel records and employment policies within seven (7) days of receiving a

written request from the Commission.

                                     DURATION

18.     This Consent Decree shall expire by its own terms at the end of ten (10)

years without further action by the Parties.

19.     The Court shall retain jurisdiction and will have all available equitable

powers, including injunctive relief, to enforce this Consent Decree. Upon

motion of the Commission, the Court may schedule a hearing for the purpose

of reviewing compliance with this Consent Decree. The parties shall engage in a

good faith effort to resolve any dispute as to compliance prior to seeking review

by the Court, and shall be required to give notice to each other ten (10) days

before moving the Court for such review.

                        DISPUTE RESOLUTION AND COMPLIANCE

20.     The Commission may review compliance with this Decree. As part of

such review, the Commission may inspect Defendant’s premises, interview

Defendant’s employees, and examine and copy Defendant’s documents. In
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addition, the Commission may interview individuals as noted in paragraph 15.

21.     In the event the Court finds that Defendant has not complied with any

provision of this Decree, and the Commission petitions the Court to order

Defendant to comply, the Commission is entitled to a penalty of $500 per day

until Defendant is in compliance with the Decree again. The Court shall enter

an Order requiring the payment of this daily $500 penalty, in addition to all

attorney’s fees and costs incurred by the Commission to enforce the Decree.

22.     Should the Court determine that Defendant has not complied with any

provision of this Decree, in addition to the penalty amount set forth in

paragraph 21, the Court may order appropriate relief including an extension of

the Decree for the time necessary to remedy non-compliance, an award of

attorney’s fees and costs, and an award of fines for contempt of court.

23.     Each party shall bear its costs and attorney’s fees incurred as a result of

this action through the filing of this Consent Decree.

24.     If any provision of this Consent Decree is found to be unenforceable by a

Court, only the specific provision shall be affected and the other enforceable

provisions shall remain in full effect.

25.     The terms of this Consent Decree are and shall be binding upon the

present and future owners, officers, directors, creditors, agents, trustees,

administrators, successors, representatives, and assigns of Defendant.

26.     Prior to selling all or substantially all of its assets to another person or

entity during the duration of this Consent Decree, Defendant shall inform the

person or entity of this Consent Decree and provide the person or entity with a
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copy of this Consent Decree. In addition, Defendant shall provide notice to the

Commission of any transfer of ownership during the duration of this Consent

Decree.

27.     Modifications of this Consent Decree must be approved by the Court.

28.     The Court shall retain jurisdiction of this action through the term of this

decree.


EQUAL EMPLOYMENT                              MUSKEGON RIVER YOUTH HOME,
OPPORTUNITY COMMISSION                        INC.


/s Nedra D. Campbell                          /s__Gary Sallee w/ permission
NEDRA D. CAMPBELL (P58768)                    GARY SALLEE
Counsel for Plaintiff                         Counsel for Defendant
477 Michigan Ave., Room 865                   11650 Olio Road, Suite 1000
Detroit, Michigan 48226                       Fishers, Indiana 46037
(313) 226-3410/6584 (fax)                     (317) 416-9543 / 863-1050 (fax)
Nedra.Campbell@eeoc.gov                       gdsallee@gmail.com
Dated: October30, 2012                        Dated: October 30, 2012


                                              /s_Kiffi Ford w/ permission_
                                              KIFFI Y. FORD
                                              Dykema Gossett PLLC
                                              Counsel for Defendant
                                              201 Townsend St Ste 900
                                              Lansing, MI 48933
                                              Phone: (517) 374-9177 / 9191 (fax)
                                              kford@dykema.com
                                              Dated: October 30, 2012

IT IS SO ORDERED:


                                                /s/ Janet T. Neff
                                              ____________________________________
Dated: November 1, 2012                       Hon. Janet T. Neff
                                              United States District Judge


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ATTACHMENT A
                   NOTICE TO ALL EMPLOYEES
        The following notice is being posted pursuant to the terms of a Consent
Decree reached between the parties in EEOC v. Muskegon River Youth Home,
Inc. filed in the United States District Court for the Western District of
Michigan, Civil Action No. 1:12-CV-01049.

      Federal law requires that employers, including Muskegon River
Youth Home, provide equal employment opportunity in all operations
and employment practices, and ensure that there shall be no
discrimination against any employee or applicant for employment on the
grounds of race, color, religion, sex, pregnancy, national origin, age,
disability, or genetic information.

      Pursuant to Title VII of the Civil Rights Act of 1964, it is unlawful
for an employer to discriminate against an employee because the
employee is pregnant. Title VII also prohibits retaliation against any
employee who files a charge of discrimination, who opposes unlawful
activity, or who cooperates in the investigation of a charge or otherwise
exercises his or her rights under Title VII.

      Any employee who believes that s/he has suffered discrimination
on the basis of race, color, religion, sex, pregnancy, national origin, age,
disability, or genetic information, or has been retaliated against because
s/he has engaged in activity protected by these laws has the right to
contact the EEOC directly at 1-800-669-4000. In compliance with federal
law, Muskegon River Youth Home will not retaliate against an employee
who makes an internal complaint of discrimination or who contacts the
EEOC or its state counterpart, the Michigan Department of Civil Rights.

     This Notice shall remain posted for the term of ten years, until
October 22, 2022.

      Muskegon River Youth Home, Inc.

      By:_____________________________________          Date ______________




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